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      EXHIBIT 5
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08:47:55    1                           UNITED STATES DISTRICT COURT
                                       EASTERN DISTRICT OF LOUISIANA
            2
                 *******************************************************************
            3
                 IN RE: XARELTO (RIVAROXABAN)
            4    PRODUCTS LIABILITY LITIGATION             Docket No. 14-MD-2592
                                                           Section "L"
            5                                              New Orleans, Louisiana
                 THIS DOCUMENT RELATES TO:                 Monday, April 24, 2017
            6    Joseph J. Boudreaux, Jr.
                 v. Janssen Research &
            7    Development, et. al.,
                 Case No. 14-CV-2720
            8
                 *******************************************************************
            9
                                    TRANSCRIPT OF TRIAL PROCEEDINGS
           10                 HEARD BEFORE THE HONORABLE ELDON E. FALLON
                                      UNITED STATES DISTRICT JUDGE
           11                          VOLUME I - MORNING SESSION

           12
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09:13:23   1                THE COURT:   I think everybody remembers.       Why don't we

09:13:25   2    just continue on with the case.

09:13:27   3                MS. JEFFCOTT:   Yes, your Honor.

09:13:30   4    BY MS. JEFFCOTT:

09:13:32   5    Q.   Yesterday, we briefly discussed variability in terms of

09:13:38   6    bleeding rates; is that right, Dr. Kessler?

09:13:39   7    A.   Yes.   Exact same pill, different amounts in the blood when you

09:13:45   8    go test for it.

09:13:48   9    Q.   And so if a lab test could assist doctors in evaluating a

09:13:55 10     patient's risk of bleeding on Xarelto, is that something that

09:13:59 11     should be in the label?

09:14:00 12     A.   Yes.

09:14:01 13     Q.   And are there generally accepted laboratory tests to identify

09:14:09 14     patients who may be at this higher bleeding risk?

09:14:13 15     A.   So there certainly are generally accepted laboratory tests to

09:14:20 16     measure bleeding risks.      When I was in medical school, ever since

09:14:24 17     I've been an intern, there are, for example, the prothrombin test,

09:14:33 18     sometimes called PT test, sometimes called clotting tests, there

09:14:37 19     are others.    That test is a, simply put, is a measure of bleeding

09:14:44 20     risk.

09:14:45 21     Q.   And did the company study whether using PT correlated with the

09:14:53 22     amount of Xarelto in the blood?

09:14:55 23     A.   Yes.

09:14:57 24     Q.   And did the company public -- publicate that correlation?

09:15:02 25     A.   Yes, they did publish that.      In fact, one of the same papers I

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09:15:09   1    showed where variability -- remember that ten-fold variability and

09:15:15   2    that line that we saw yesterday, that paper by Dr. Mueck?           They

09:15:19   3    published in that paper, yes.

09:15:21   4    Q.   And if we could pull up that Mueck paper, the demonstrative we

09:15:26   5    showed from yesterday, which is PX No. 3261528.

09:15:42   6    A.   I believe it's the -- Figure 4, if I'm correct.         The graphs,

09:15:49   7    the relationship.

09:16:03   8    Q.   I can do it on the ELMO.

09:16:06   9    A.   I have a 3261528, it's Dr. Mueck's 2014 paper, and if you can

09:16:15 10     go to Figure 4B.

09:16:17 11     Q.   And before we do that real quick, can we go to Page 1?             We keep

09:16:24 12     referring to Dr. Mueck's paper, and I am not sure that we actually

09:16:28 13     talked about who Dr. Mueck is.       If you would, Dr. Kessler, just

09:16:33 14     explain who Dr. Mueck is.

09:16:35 15     A.   If you can do me favor, Carl, if you can below up right down

09:16:39 16     here, you can see Dr. Mueck is the first author.         And then if you

09:16:49 17     go to the bottom of the page, please, you can see his identifiers.

09:16:52 18     He is with the clinical pharma -- all of the authors with the

09:16:56 19     clinical pharmacology unit at Bayer.

09:17:00 20     Q.   And going back up to the title, Dr. Kessler, this title.            Would

09:17:11 21     you mind just kind of explaining a little bit about what this

09:17:15 22     means?

09:17:15 23     A.   Okay.   Sure.   Rivaroxaban, we all know that's Xarelto.

09:17:23 24     Pharmacokinetic is -- when we talk about the amount of Xarelto in

09:17:29 25     the blood, that's just another -- PK, pharmacokinetic is just

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09:17:37   1    another fancy word for saying how much drug is in the blood.            So

09:17:42   2    you can measure -- they have tests that measure the actual drug

09:17:46   3    itself in the blood.     Drug in the tablet you take by mouth, exact

09:17:51   4    same amount, then you can do the pharmacokinetic measurement there.

09:17:56   5                 Pharmacodynamic means the effect on the body.

09:18:01   6                 So you asked me about whether there were tests for

09:18:03   7    bleeding, and I said one test is called prothrombin time or PT.

09:18:10   8    That is a measurement of pharmacodynamic, because if I have an

09:18:17   9    increased risk of bleeding, that's an affect on my bleeding.            So

09:18:19 10     this basically talks about, in essence, the effect -- the

09:18:23 11     concentration of the drug in the blood and what is its effect on

09:18:28 12     the body.     And now we're talking about bleed risk.

09:18:30 13     Q.    And that's what Dr. Mueck and the scientists there were looking

09:18:38 14     at?

09:18:38 15     A.    Yes, ma'am.

09:18:38 16     Q.    And I'm sorry to interrupt you, but going back to Figure 4B

09:18:41 17     which you directed us to.

09:18:52 18     A.    Would you like me to explain?

09:18:53 19     Q.    Yes.   This is the correlation you were discussing?

09:18:55 20     A.    Yes.   But actually, do me a favor, Carl.      Take off that heading

09:19:02 21     because that's -- that's -- actually, that's not a heading, that

09:19:06 22     refers to the prior slide and I just don't want to confuse people.

09:19:10 23     So if you can just cut it just Slide B.

09:19:14 24                  So here are the two things that we want to know whether

09:19:17 25     they're related:     How much is in my blood.      And we know that can be

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09:19:24   1    variable.    So how much is in the blood is on this bottom axis.

09:19:30   2    It's Xarelto plasma concentration.       And you see it can range all

09:19:36   3    the way down here from zero all the way up to about a little over

09:19:41   4    500, and that's the measurement of how -- of micrograms per liter.

09:19:48   5    So that's how much drug is in the blood.

09:19:55   6                Now, PT -- now, each one of these dots is a different

09:20:00   7    patient that's studied.      And for every patient that's studied

09:20:05   8    there's two measurements taken.       There's a measurement taken for

09:20:09   9    how much Xarelto is in the blood, and there's a measurement taken

09:20:13 10     for PT.     Now, PT, I said, is generally a measurement of bleeding

09:20:19 11     risk.     But these are how PTs are -- the PT -- the prothrombin

09:20:27 12     time -- sorry, I am abbreviating.       These are how PT is measured.

09:20:33 13     The PT test goes back to 1936.

09:20:35 14                 And you see, the question was, and what Dr. Mueck was

09:20:43 15     looking at, was:    Is there a relationship?         What do I mean

09:20:46 16     between -- relationship between how much Xarelto is in the blood

09:20:48 17     and what the PT time is.      So what's the relationship?       The question

09:20:53 18     is:     When the amount of Xarelto is low in the blood, down here

09:21:00 19     (INDICATING), right, is prothrombin low?           And if the amount is

09:21:07 20     higher in the blood, is the prothrombin test higher?

09:21:12 21                 And so they do this experimentally.        All of the patients

09:21:16 22     studied, two samples, measured at certain points in time that the

09:21:21 23     company decided and what they do is they graph, right?           And then

09:21:29 24     the statisticians come in and apply statistics.           But you can see,

09:21:35 25     you don't need a statistician to see that, in general, right, as

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09:21:41   1    the higher the amount of drug in the blood, the higher the PT.

09:21:47   2                 Now, the higher the PT, the higher the bleeding risk,

09:21:53   3    because prothrombin is a generally accepted test to look at

09:21:58   4    bleeding risk.     And Dr. Mueck found, in fact, there was a strong

09:22:04   5    correlation.     That's just a statistical term.      It's relationship;

09:22:10   6    more drug in my body, higher risk of bleeding.         Generally, that's

09:22:15   7    what that graph shows.

09:22:17   8    Q.    And you mentioned that these patients had to have a PT test

09:22:22   9    twice a day.     Is that involved, going into a lab?       How is a PT

09:22:30 10     taken?

09:22:30 11     A.    So I apologize.   I said each of these -- there were two

09:22:34 12     measurements.     I may have misspoken.     Each patient had their drug

09:22:38 13     concentration measured, and then had their PT measured.          And the

09:22:45 14     companies had certain rules of when the PT was taken and that was

09:22:49 15     set by protocol.

09:22:50 16                  But if your question is:    How is a PT done?     Is that the

09:22:56 17     question?

09:22:56 18     Q.    Yes.

09:22:57 19     A.    Right.   So the way a PT -- and, again, I keep on abbreviating.

09:23:01 20     It's prothrombin time.     It's bleeding risk.      So you take a blood

09:23:06 21     sample, you spin it down in a centrifuge, you get the plasma.            You

09:23:11 22     know, the yellow stuff on top, the cells on the bottom.          You take

09:23:17 23     some of that plasma and then you add certain clotting factors to

09:23:27 24     it.    And then you -- the laboratory measures the time it takes for

09:23:35 25     blood to clot.     So the longer it takes for the blood to clot, the

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09:23:40   1    higher the PT, generally, the higher the bleeding risk.

09:23:45   2    Q.   And so what this graph is depicting is that the more

09:23:50   3    concentration in the blood, the higher the PT?

09:23:52   4    A.   More concentration of what?

09:23:54   5    Q.   Of Xarelto.

09:23:55   6    A.   Of Xarelto in the blood, the higher the PT generally.          That's

09:24:03   7    the correlation.     That's the relationship.

09:24:05   8    Q.   And when the FDA -- and did the FDA, when it reviewed the

09:24:10   9    application for Xarelto, also conclude that there was a

09:24:14 10     correlation?

09:24:15 11     A.   Right.   Yes.   So fix this picture in your mind.       Just sort of

09:24:21 12     memorize -- no, I'm kidding.      But just get a sense of what this

09:24:25 13     looks like, right, with the line and that trajectory of that line.

09:24:31 14     And FDA did its own analysis, again, of the company's data, but

09:24:36 15     somewhat different analysis.      FDA looked and did its own analysis

09:24:42 16     of the data.

09:24:48 17                MS. JEFFCOTT:    And, your Honor, may I approach the

09:24:49 18     witness?

09:25:15 19     BY MS. JEFFCOTT:

09:25:15 20     Q.   And, Dr. Kessler, would you be so kind to read the title of

09:25:18 21     this document?

09:25:18 22     A.   So this title is called "FDA Draft Briefing Document For the

09:25:26 23     Cardiovascular and Renal Drugs Advisory Committee," and then it

09:25:32 24     abbreviates the name of that committee.

09:25:35 25     Q.   And what's the date of this document?

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09:25:36   1    A.   This document is dated September 8th, 2011.

09:25:42   2                MS. JEFFCOTT:   And at this time we offer PX 5768754 into

09:25:42   3    evidence as Exhibit No. 2.

09:25:56   4                MR. DUKES:   We have no objection.

09:25:57   5                THE COURT:   I'll admit it into evidence.

09:26:00   6                MS. JEFFCOTT:   Thank you, your Honor.

09:26:03   7    BY MS. JEFFCOTT:

09:26:03   8    Q.   Dr. Kessler, would you briefly state the purpose of this

09:26:06   9    document?

09:26:06 10     A.   So there was an advisory committee.           FDA sometimes calls in

09:26:11 11     other docs in a public meeting, and FDA prepares documents for that

09:26:20 12     meeting, and that document is publicly available.            You can go

09:26:27 13     online and find it.

09:26:28 14                 In that document, you will find the medical reviewers at

09:27:13 15     FDA.    This is for, remember, the AFib indication, because there are

09:27:13 16     other medical reviewers for other indications.            You'll see the

09:27:13 17     medical reviewer.     You will also see what's called the clinical

09:27:13 18     pharm review.    Those are different parts of the FDA, and you will

09:27:13 19     see their reports that get put in this draft.            FDA labels

09:28:34 20     everything "Draft."      It doesn't mean -- there's no final in this

09:28:34 21     case.    So you'll see the work of the FDA analysis.

09:28:34 22     Q.   And could you briefly describe the difference between the

09:28:34 23     medical review and the clinical pharm review?

09:28:34 24     A.   Medical reviewers are looking at the medical aspects, safety,

09:28:34 25     the efficacy, whether the drug works.        The clinical pharm looks at

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09:28:34   1    the pharmacology, but it also looks at both whether the drug works

09:28:34   2    and its safety profile.      Some are trained as pharmacologists.        Some

09:28:34   3    are trained as MDs.

09:28:34   4    Q.   And in discussing the correlation, can you point to where in

09:28:34   5    this document you found the correlation?

09:28:34   6    A.   Certainly.    FDA -- if you turn to page -- I believe it is 38.

09:28:34   7    That is not the PDF, but that's -- is there a Bates?           I don't know

09:28:34   8    if there's a Bates.      My Page 38.   I guess it's PDF 39.

09:28:34   9    Q.   That's right.

09:28:34 10     A.   Thank you.

09:28:34 11     Q.   And, Doctor, do you mind explaining what's important on this

09:28:34 12     page in your opinion?

09:28:34 13     A.   So, Carl, if you can highlight, let's first -- before we go

09:28:35 14     even to the graph, let's just go to the text, and FDA's posing a

09:28:44 15     question, okay?      Whether prothrombin time can be used as a

09:28:50 16     measurement.      That's all "surrogate" means, is a measurement, as a

09:28:54 17     test, right, for blood concentration.        That was the question.      And

09:29:00 18     here it says, "The data from 161 ROCKET patients."           That's the big

09:29:06 19     study that was done for -- by AFib for Xarelto -- "confirms" --

09:29:15 20     just highlight this.      You don't need to do the title.        Just

09:29:18 21     highlight this so everyone sees.       "Confirms the linear

09:29:23 22     relationship," so that's a correlation.            The two things are

09:29:27 23     related.    "Between plasma concentration of Xarelto and the PT,"

09:29:34 24     perfect.    So it's a linear relationship between two things; between

09:29:37 25     the plasma concentration of the drug -- so, Carl, just highlight

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09:29:44   1    "plasma concentration," and then kindly highlight -- and then "PT"

09:29:52   2    here (INDICATING).     Perfect.

09:29:55   3                So the FDA concludes that there is a linear relationship,

09:29:59   4    as shown in the figure.      So remember, I said keep that image of

09:30:06   5    that other figure?     Here is FDA's figure, right.       Just go down to

09:30:11   6    Figure 6 and now let's look at the graph that FDA concluded.

09:30:17   7                I think we can take off these -- that's perfect.         Thanks

09:30:21   8    an awful lot.     Thanks for highlighting this.

09:30:24   9                So this is FDA's analysis.      Not exactly the same, right,

09:30:28 10     but very similar.     And certainly, similar with regard to this line,

09:30:34 11     lower plasma concentration of drug, right, lower prothrombin time,

09:30:41 12     lower bleed -- you know, the bleeding risk test, higher plasma

09:30:47 13     concentration, higher prothrombin time -- again, not perfect.            No

09:30:54 14     science is ever perfect.      There are dots elsewhere, but generally

09:31:00 15     you see this line, and FDA concluded that there was a linear

09:31:02 16     correlation.

09:31:05 17     Q.   And based on your review and materials and documents, has the

09:31:10 18     FDA changed its position regarding the linear correlation between

09:31:17 19     PT and Xarelto plasma concentration?

09:31:20 20     A.   No, it is not.    I think it is generally accepted.

09:31:24 21     Q.   And do you have an opinion with respect to Xarelto in the blood

09:31:28 22     and PT?

09:31:29 23     A.   Yes.   There is a relationship between Xarelto plasma

09:31:35 24     concentration and PT.      Lower drug in the blood, lower PT, lower

09:31:43 25     bleed risk, according to that test, and higher amount of drug on

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09:31:50   1    board, higher PT level.

09:31:57   2    Q.   And, Doctor, we discussed yesterday that Xarelto can cause

09:32:01   3    bleeding, correct?

09:32:04   4    A.   That's certainly major bleeding we talked about.         We talked

09:32:07   5    about the 3.6 per hundred yesterday.

09:32:11   6    Q.   And the amount of Xarelto in the blood is also variable?

09:32:17   7    A.   Yes.   We saw that.     We saw that one of the sets of numbers.      I

09:32:23   8    think there was a ten-fold -- a little more than a ten-fold

09:32:26   9    difference, yes.

09:32:27 10     Q.   And that variability, that ten-fold difference can -- also

09:32:33 11     pertains to the risk of bleeding?

09:32:36 12     A.   Yes.   So -- exactly.    So we have three different sort of things

09:32:46 13     we're looking at.     Well, actually four things, right.        Because

09:32:50 14     we -- we start off with the exact same amount of Xarelto because

09:32:54 15     that's in the tablet.      Then we have a variable amount of a drug in

09:33:03 16     the blood.

09:33:04 17                 And the first thing, then, is that -- that amount in the

09:33:07 18     blood, is that correlated with that PT test for bleeding risk?            And

09:33:15 19     we saw that both FDA and the company concluded those things were

09:33:23 20     related.    And we know that PT, going back to 1935, was a measure of

09:33:31 21     bleeding risk.     So just from that alone, you conclude the amount of

09:33:35 22     drug in the blood is correlated with PT with bleeding risk.

09:33:41 23                 But to be sure, right?      I mean, to -- actually to

09:33:47 24     validate, in fact, to make sure it's correct that PT predicts

09:33:52 25     bleeding risk, you should look at the data of PT values, and do

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09:33:59   1    people actually bleed.      So it's sort of a check to make sure that

09:34:04   2    PT is really correlated with bleeding risk.

09:34:10   3    Q.   And that was what was essentially done through the ROCKET data?

09:34:15   4    A.   The ROCKET data did a number of things, but certainly there was

09:34:20   5    a very big report that was looked at, that looked at that question

09:34:30   6    of, again, does PT -- I always learned that PT was related to

09:34:36   7    bleeding risk.     But actually, when you look at patients who had

09:34:39   8    higher PTs on this drug, did they, in fact, have a higher bleed --

09:34:45   9    did they bleed -- did they have more major bleeds?

09:34:50 10     Q.   And this data, did you examine this data from the ROCKET study?

09:34:54 11     A.   Yes.

09:34:57 12                 MS. JEFFCOTT:    And, your Honor, may I approach the

09:34:59 13     witness?    Your Honor, I am about to pass out a very heavy document.

09:35:09 14     Do you mind if I have some assistance?

09:35:11 15                 THE COURT:    That's fine.

09:35:40 16                 MS. JEFFCOTT:    And, your Honor, just for the convenience

09:35:42 17     of the Court, I also created an abbreviated one where we're only

09:35:46 18     going to reference the certain pages.

09:36:19 19                 THE COURT:    Let's make sure, for the record, that we have

09:36:23 20     it designated properly.      This one is P2, as I understand it, the

09:36:27 21     draft?

09:36:28 22                 MS. JEFFCOTT:    That's correct.

09:36:30 23                 THE COURT:    Do you have that, Dean, P2?

09:36:33 24                 THE DEPUTY CLERK:     Yes.

09:36:35 25     BY MS. JEFFCOTT:

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